           Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15          Page 1 of 30 PageID 9
                                   THE STATE OF TEXAS
                                    COUNTY OF ELLIS
                                                  CAUSE NO: 91080
                                                       CITATION


TO:     LIBERTY MUTUAL INSURANCE
       REG AGENT, CT CORPORATION SYSTEM
       211 E. 7m ST, STE 620
       AUSTIN, TX 78701

Defendant, in the hereinafter styled and numbered ca

You are hereby commanded to appear be
courthouse of said county in the C'
Plaintiff at or before 10:00 A.M.
accompanies this citation, in ca.,t
                          :.I';;;"




                                                       EXHIBIT C-1
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15   Page 2 of 30 PageID 10
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15   Page 3 of 30 PageID 11
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15   Page 4 of 30 PageID 12
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15   Page 5 of 30 PageID 13
Case 3:15-cv-01072-N Document 1-391080
                                   Filed 04/08/15                       Page 6 of 30 PageID 14
                                                                                     Filed 2/25/2015 8:29:40 AM
                                        Ellis County - District Clerk
                                                                                                     Melanie Reed
                                                                                                      District Clerk
                                                                                               Ellis County, Texas

                             CAUSE NO. _ _q_l_O...,....B_O_ __


BLACKSTONE DEVELOPERS, LLC,                      §          IN THE DISTRICT COURT
    Plaintiff,                                   §
                                                 §
                                                 §
VS.                                              §          ELLIS COUNTY, TEXAS
                                                 §
LIBERTY MUTUAL INSURANCE,                        §         . 11t-
     Defendant.                                  §       YD_ JUDICIAL DISTRICT
                           PI,AINTIFF'S ORIGINAl, PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Blackstone Developers, LLC (hereinafter "Plaintiff'), and complains of

Liberty MutUal Insurance (hereinafter "Liberty Mutual"). In support of its claims and causes of

action, Plaintiff would respectfully show the Court as follows:

                                       DISCOvERY LEVEL

       1.      Plaintiff intends for discovery to be conducted at Level 2, pursuant to Rule 190 of

the Texas Rules of Civil Procedure .

                                 .JURISDICTION AND VENUE

       2.      This Court has jurisdiction to hear Plaintiff's claims under Texas common law and

Texas statutory law. Inarguably, the amount in controversy exceeds the minimum jurisdictional

limits of this Court. Venue is also proper, as all or a substantial part of the events giving rise to

this suit occurred within the city of Red Oak, in Ellis County, Texas.

                                               PARTIES

       3.      Plaintiff is an individual whose residence is located in Ellis County, 205 S. Main

St., Red Oak, Texas.



PLAINTIFF BLACKSTONE DEVELOPERS, LLC'S ORIGINAL PETITION                                     Page 1
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15   Page 7 of 30 PageID 15
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15   Page 8 of 30 PageID 16
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15   Page 9 of 30 PageID 17
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15                     Page 10 of 30 PageID 18




         4.       Liberty Mutual Insurance is a company engaged in the business of adjusting

insurance claims. This includes Plaintiff's insurance policy which is at issue in the present case.

Liberty Mutual may be served with Citation and a copy of this Petition, by serving it through its

Registered Agent, Corporation Service Company, 211 East 7th Street, Ste. 620, Austin, Texas

787010r wherever it may be found.

                                           BACKGROUND

         5.       This matter revolves largely around a first party insurance dispute regarding the

extent of damages and amount of loss suffered to the Plaintiff's Property, which is located at ,

205 S. Main St., Red Oak, Texas (the "Property"). In addition to seeking economic and penalty

. based damages from Liberty Mutual, Plaintiff also seeks compensation from Liberty Mutual for

damages caused by improperly investigating the extensive losses associated with this case.

         6.       Plaintiff owns the Property.

         7.       Prior to the occurrence in question, Plaintiff purchased a commercial insurance

policy from Liberty Mutual to cover the Property at issue in this case for a loss due to storm-

related events.      Plaintiff's Property suffered storm-related damage. Through its commercial

policy, BKS558545081, Plaintiff was objectively insured for the subject loss by Defendant.

         8.       On or around May 12,2014, the Property suffered incredible damage due to storm

related conditions.

         9.       In the aftermath, Plaintiff relied on Liberty Mutual to help begin the rebuilding

process. By and through its commercial policy, Plaintiff was objectively insured for the subject

 losses in this matter.




PLAINTIFF BLACKSTONE DEVELOPERS, LLC'S ORIGINAL PETITION                                   Page 2
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15                       Page 11 of 30 PageID 19




        10.   Pursuant to its obligation as a policyholder, Plaintiff made complete payment'of all

commercial insurance premiums in a timely fashion. Moreover, its commercial policy covered

Plaintiff during the time period in question.

        11.     Despite Plaintiff's efforts, Liberty Mutual continually failed and refused to pay

Plaintiff in accordance with its promises under the Policy.

        12.     Moreover, Liberty- Mutual has failed to make any reasonable attempt to settle

Plaintiff's claims in a fair manner, although its liability to the Plaintiff under the policy is without

dispute.

        13.    In the months following, Plaintiff provided information to Liberty Mutual, as well

as provided opportunities for Liberty Mutual to inspect the Property. However, Liberty Mutual

failed to conduct a fair investigation into the damage to the Property. Moreover, Liberty Mutual

failed to properly inspect the Property and its related damages, failed to properly request

information, failed to properly investigate the claim, failed to timely evaluate the claim, failed to

timely estimate the claim, and failed to timely and properly report and make recommendations in

regard to Plaintiff's claims.

        14.     Despite Liberty Mutual's improprieties, Plaintiff continued to provide information

regarding the losses and the related claim to Liberty Mutual. Further, Plaintiff made inquiries

regarding the status of the losses, and payments. Regardless, Liberty Mutual failed and refused

to respond to the inquiries, and failed to properly adjust the claim and the losses. As a result, to

this date, Plaintiff has not received proper payment for its claim, even though notification was

provided.

        15.     Liberty Mutual has failed to explain the reasons for failing to offer adequate

compensation for the damage to the Property. Liberty Mutual has furthermore failed to offer

PLAINTIFF BLACKSTONE DEVELOPERS, LLC'S ORIGINAL PETITION                                        Page 3
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15                       Page 12 of 30 PageID 20




Plaintiff adequate compensation without any explanation why full payment was not being made.

Liberty Mutual did not communicate that any future settlements or payments would be

forthcoming to pay the entire losses covered under the policy.

        16.     Liberty Mutual has further failed to affirm or deny coverage within a reasonable

time. Plaintiff also did not receive timely indication of acceptance or rejection regarding the full

and entire claim in writing from Liberty Mutual in a timely manner.

        17.     Liberty Mutual has, to date, refused to fully compensate Plaintiff under the terms

of the policy for which Plaintiff paid, even though it was Liberty Mutual that failed to conduct a

reasonable investigation. Ultimately, Liberty Mutual performed a result-oriented investigation of

Plaintiff's claim that resulted in an unfair, biased and inequitable evaluation of Plaintiff's losses.

        18.     Liberty Mutual has failed to meet its obligations under the Texas Insurance Code

regarding timely acknowledging Plaintiff's claim, beginning an investigation of Plaintiff's claim,

and requesting all information reasonably necessary to investigate Plaintiff's claims within the

time period mandated by statute.

        19.     As a result of the above issues, Plaintiff did not receive the coverage for which it

had originally contracted with Liberty Mutual.         Unfortunately, Plaintiff has, therefore; been

forced to file this suit in order to recover damages arising from the above conduct, as well as

'overall from the unfair refusal to pay insurance benefits.

        20.    In addition, Liberty Mutual has failed to place adequate and proper coverage for
                                                                 \


Plaintiff causing Plaintiff to suffer further damages. As indicated below, Plaintiff seeks relief

under the common law, the Deceptive Trade Practices-Consumer Protection Act and the Texas

Insurance Code.




PLAINTIFF BLACKSTONE DEVELOPERS, LLC'S ORIGINAL PETITION                                       Page 4
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15                   Page 13 of 30 PageID 21




                                  CONDITIONS PRECEDENT

       21.    All conditions precedent to recovery by Plaintiff has been met or has occurred.

                                           AGENCY

       22.    All acts by Liberty Mutual were undertaken and completed by its officers, agents,

servants, employees, and/or representatives. Such were either done with the full authorization or

ratification of Liberty Mutual and/or were completed in its normal and routine course and scope

of employment with Liberty Mutual.

                             CLAIMS AGAINST DEFENDANT

       23.    Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs.

                                               A.
                                        NEGLIGENCE

       24.     Liberty Mutual had and owed a legal duty to Plaintiff to properly adjust the

structural and property damage and other insurance losses associated with the Property. Liberty

Mutual breached this duty in a number of ways, including but not limited to the following:

               a.     Liberty Mutual was to exercise due care in adjusting and paying policy
                      proceeds regarding Plaintiff's Property loss;

              b.      Liberty Mutual had a duty to competently and completely handle and pay
                      all damages associated with Plaintiff's Property; and/or

               c.     Liberty Mutual failed to properly complete all adjusting activities
                      associated with Plaintiff.

       25.     Liberty Mutual's acts, omissions, and/or breaches did great damage to Plaintiff,

and were a proximate cause of Plaintiff's damages.




PLAINTIFF BLACKSTONE DEVELOPERS, LLC'S ORIGINAL PETITION                                 Page 5
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15                       Page 14 of 30 PageID 22




                                            B.
                                    BREACH OF CONTRACT

      , 26.    Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs.

        27.    According to the policy that Plaintiff purchased, Liberty Mutual had the absolute

duty to investigate Plaintiff's damages, and to pay Plaintiff's policy benefits for the claims made

due to the extensive storm-related damages.

        28.    As a result of the storm-related event, Plaintiff suffered extreme external and

internal damages ..

        29.     Despite objective evidence of such damages, Liberty Mutual has breached its

contractual obligations under the subject insurance policy by failing to pay Plaintiff benefits
                                                                                            I

relating to the cost to properly repair Plaintiff's Property, as well as for related losses. As a result

of this breach, Plaintiff has suffered actual and consequential damages.

                                        C.
                       VIOLATIONS OF TEXAS DECEPTIVE TRADE
                         PRACTICES ACT AND TIE-IN-STATUTES

        30.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs.

        31.     Liberty Mutual's collective actions constitute violations of the DTPA, including
                                                                                                ,
but not limited to, Sections 17.46(b) (12), (14), (20), (24), and Section 17.50(a) (4) of the Texas

Business & Commerce Code.           Liberty Mutual collectively engaged in false, misleading, or

deceptive acts or practices that included, but were not limited to:

                a.      Representing that an agreement confers or involves rights, remedies, or
                        obligations which it does not have or involve, or which are prohibited by
                        law;


PLAINTIFF BLACKSTONE DEVELOPERS, LLC'S ORIGINAL PETITION                                            Page 6
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15                    Page 15 of 30 PageID 23




               b.     Misrepresenting the authority of a salesman, representative, or agent to
                      negotiate the final terms of a consumer transaction;

               c.     Failing to disclose information concerning goods or services which were
                      known at the time of the transaction, and the failure to disclose such
                      information was intended to induce the consumer into a transaction into
                      which the consumer would not have entered had such information been
                      disclosed;

               d.     Using or employing an act or practice in violation of the Texas Insurance
                      Code;

               e.     Unreasonably delaying the investigation, adjustment and resolution of
                      Plaintiff's claim;

               f.     Failure to properly investigate Plaintiff's claim; and/or

               g.     Hiring and relying upon a biased engineer and/or adjuster to obtain a
                      favorable, result-oriented report to assist Liberty Mutual in low-balling
                      and/or denying Plaintiff's damage claim.

       32.     As described in this Original Petition, Liberty Mutual represented to Plaintiff that

its insurance policy and Liberty Mutual's adjusting and investigative services had characteristics

or benefits that it actually did not have, which gives Plaintiff the right to recover under Section

17.46 (b)(5) of the DTPA.

       33.     As described in this Original Petition, Liberty Mutual represented to Plaintiff that

its insurance policy and Liberty Mutual's adjusting and investigative services were of a particular

standard, quality, or grade when they were of another, which stands in violation of Section 17.46

(b)(7) of the DTPA.

       34.     By representing that Liberty Mutual would pay the entire amount needed by

Plaintiff to repair \the damages caused by the storm-related event and then not doing so, Liberty

Mutual has violated Sections 17.46 (b)(5), (7) and (12) of the DTPA.




PLAINTIFF BLACKSTONE DEVELOPERS, LLC'S ORIGINAL PETITION                                   Page 7
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15                     Page 16 of 30 PageID 24




       35.     Liberty Mutual has breached an express warranty that the damage caused by the

stonn-related event would be covered under the subject insurance policies. This breach entitles

Plaintiff to recover under Sections 17.46 (b) (12) and (20) and 17.50 (a) (2) of the DTPA.

       36.     Liberty Mutual's actions, as described herein, are unconscionable in that it took

advantage of Plaintiff's lack of knowledge, ability, and experience to a grossly unfair degree.

Liberty Mutual's unconscionable conduct gives Plaintiff the right to relief under Section 17.50(a)

(3) of the DTPA.

       37.     Liberty Mutual's conduct, acts, omissions, and failures, as described in this

Original Petition, are unfair practices in the business of insurance in violation of Section 17.50

(a) (4) of the DTPA.

       38.     Plaintiff is a consumer, as defined under the DTPA, and relied upon these false,

misleading, or deceptive acts or practices made by Liberty Mutual to its detriment. As a direct

and proximate result of Liberty Mutual's collective acts and conduct, Plaintiff has been damaged

in an amount· in excess of the minimum jurisdictional limits of this Court, for which Plaintiff

now sues.    All of the above-described acts, omissions, and failures of Liberty Mutual are a

producing cause of Plaintiff's damages that are described in this Original Petition.

       39.     Because Liberty Mutual's collective actions and conduct were committed

knowingly and intentionally, Plaintiff is entitled to recover, in addition to all damages described

herein, mental anguish damages and additional penalty damages, ih an amount not to exceed

three times such actual damages, for Liberty Mutual having knowingly cOI1lIilitted its conduct.

Additionally, Plaintiff is ultimately entitled to recover damages in an amount not to exceed three

times the amount of mental anguish and actual damages due to Liberty Mutual having

intentionally committed such conduct.

PLAINTIFF BLACKSTONE DEVELOPERS, LLC'S ORIGINAL PETITION                                     Page 8
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15                      Page 17 of 30 PageID 25




       40.     As a result of Liberty Mutual's unconscionable, misleading, and deceptive actions

and conduct, Plaintiff has been forced to retain the legal services of the undersigned attorneys to

protect and pursue these claims on its behalf. Accordingly, Plaintiff also seeks to recover its

costs and reasonable and necessary attorneys' fees as permitted under Section 17.50(d) of the

Texas Business & Commerce Code, as well as any other such damages to which Plaintiff may

show itself to be justly entitled at law and in equity.

                                                  D.
                        VIOLATIONS OF TEXAS INSURANCE CODE

       41.      Plaintiff hereby incorporates by reference all facts and circumstances set forth

within the foregoing paragraphs.

       42.      Liberty Mutual's actions constitute violations of the Texas Insurance Code,

including but not limited to, Article 21.21 Sections 4(10) (a) (ii), (iv), and (viii) (codified as

Section 541.060), Article 21.21 Section ll(e) (codified as Section 541.061), and Article 21.55

Section 3(f) (codified as Section 542.058).        Spec!fically, Liberty Mutual engaged in certain·

unfair or deceptive acts or practices that include, but are not limited to the following:

                a.      Failing to attempt, in good faith, to effectuate a prompt, fair, and equitable
                        settlement of a claim with respect to which the insurer's liability has
                        become reasonably clear;

                b.      Failing to provide promptly to a policyholder a reasonable explanation of
                        the basis in the policy, in relation to the facts or applicable law, for the
                        insurer's denial of a claim or for the offer of a compromise settlement of a.
                        claim;

                c.      Refusing to pay a claim without conducting a reasonable investigation
                        with respect to the claim;

                d.      Forcing Plaintiff to file suit to recover amounts due under the policy by
                        refusing to pay all benefits due;



PLAINTIFF BLACKSTONE DEVELOPERS, LLC'S ORIGINAL PETITION                                      Page 9
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15                   Page 18 of 30 PageID 26




               e.      Misrepresenting an insurance policy by Jailing to disclose any matter
                       required by law to be disclosed, including a failure to make such
                       disclosure in accordance with another provision of this code; and/or

               f.      Failing to pay a valid claim after receiving all reasonably requested and
                       required items from the claimant.

       43.     Plaintiff is the insured or beneficiary of a claim which was apparently valid as a

result of the unauthorized acts of Liberty Mutual, and Plaintiff relied upon these unfair or

deceptive acts or practices by Liberty Mutual to its detriment.     Accordingly, Liberty Mutual

became the insurer of Plaintiff.

       44.     As a direct and proximate result of Liberty Mutual's acts and conduct, Plaintiff

has been damaged in an amount in excess of the minimum jurisdictional limits of this Court, for

which it now sues.

       45.     Since a violation of the Texas Insurance Cdde is a direct violation of the DTPA,

and because Liberty Mutual's actions and conduct were committed knowingly and intentionally,

Plaintiff is entitled to recover, in addition to all damages described herein, mental anguish

damages and additional damages in an amount not to exceed three times the amount of actual

damages, for Liberty Mutual having knowingly committed such conduct. Additionally, Plaintiff

is entitled to recover damages in an amount not to exceed three times the amount of mental and

actual damages for Liberty Mutual having intentionally committed such conduct.

       46.     As a result of Liberty Mutual's unfair and deceptive actions and conduct, Plaintiff

has been forced to retain the legal services of the undersigned attorneys to protect and pursue

these claims on its behalf. Accordingly, Plaintiff also seeks to recover its costs and reasonable

and necessary attorneys' fees as pennitted under Section 17.50(d) of the Texas Business &

Commerce Code or Article 21.21 Section 16(b) (1) (codified as Section 541.152) of the Texas


PLAINTIFF BLACKSTONE DEVELOPERS, LLC'S ORIGINAL PETITION                                 Page 10
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15                      Page 19 of 30 PageID 27




Insurance Code and any other such damages to which Plaintiff may show itself justly entitled by

law and in equity.

                                                 E.
                          BREACH OF THE COMMON-LAW DUTY
                           OF GOOD FAITH AND FAIR DEALING

          47.   Plaintiff hereby incorporates by reference all facts and circumstances in the

foregoing paragraphs.

          48.   By its acts, omissions, failures and conduct, Liberty Mutual has breached its

common law duty of good faith and fair dealing by denying Plaintiff's claims or inadequately

adjusting and making an offer on Plaintiff's claims without any reasonable basis, and by failing

to conduct a reasonable investigation to determine whether there was a reasonable basis for this

denial.

          49.   Liberty Mutual has also breached this duty by unreasonably delaying payment of

Plaintiff's entire claims and by failing to settle Plaintiff's claims, as Liberty Mutual knew or

should have known that it was reasonably clear that Plaintiff's storm-related claims were

covered. These acts, omissions, failures, and conduct by Liberty Mutual is a proximate cause of

Plaintiff's damages.

                                           F.
                               BREACH OF FIDUCIARY DUTY

          50.   Plaintiff hereby incorporates by reference all facts and circumstances in the

foregoing paragraphs.

          51.   Liberty Mutual had a fiduciary relationship, or in the alternative, a relationship of

trust and confidence with Plaintiff. As a result, Liberty Mutual owed a duty of good faith and

fair dealing to Plaintiff. Liberty Mutual breached that fiduciary in that:


PLAINTIFF BLACKSTONE DEVELOPERS, LLC'S ORIGINAL PETITION                                   Page 11
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15                      Page 20 of 30 PageID 28




               a.       The transaction was not fair and equitable to Plaintiff;

               b.       Liberty Mutual did not make reasonable use of the confidence that
                        Plaintiff placed upon it;

               c.       Liberty Mutual did not act in the utmost good faith and did not exercise
                        the most scrupulous honesty toward Plaintiff;

               d.       Liberty Mutual did not place the interests of Plaintiff before its own, and
                        Liberty Mutual used the advantage of its position to gain a benefit for
                        itself, at Plaintiff's expense;

               e.       Liberty Mutual placed itself in a position where its self-interest might
                        conflict with its obligations as a fiduciary; and/or

               f.       Liberty Mutual did not fully and fairly disclose all important information
                        to Plaintiff concerning the sale of the po \icy.

        52. ' Liberty Mutual is liable for Plaintiff's damages for breach of fiduciary duty, as

such damages were objectively caused by Liberty Mutual's conduct.

                                                  G.
                              UNFAIR INSURANCE PRACTICES

        53.    Plaintiff hereby incorporates by reference all facts and circumstances in the

foregoing paragraphs.

        54.    Plaintiff has satisfied all conditions precedent to bringing these causes of action.

By its acts, omissions, failures, and conduct, Liberty Mutual has engaged in unfair and deceptive

acts or practices in the business of insurance in violation of Chapter 541 of the Texas Insurance

Code.

        55.    Such violations include, without limitation, all the conduct described in this

Original Petition, plus Liberty Mutual's failure to properly investigate Plaintiff's claim. Plaintiff

also includes Liberty Mutual's unreasonable delays in the investigation, adjustment, and




PLAINTIFF BLACKSTONE DEVELOPERS, LLC'S ORIGINAL PETITION                                   Page 12
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15                     Page 21 of 30 PageID 29




resolution of Plaintiff's claims and Liberty Mutual's failure to pay for the proper repair of

Plaintiff's Property, as to which Liberty Mutual's liability had become reasonably clear.

       56.     Additional violations include Liberty Mutual's hiring of and reliance upon biased

adjusters and/or engineers to obtain favorable, result-oriented reports to assist it in low-balling

and denying Plaintiff's storm-related damage and related claims.          Plaintiff further includes

Liberty Mutual's failure to look for coverage and give Plaintiff the benefit of the doubt, as well

as Liberty Mutual's     misrep,~esentations   of coverage under the subject insurance policy.

Specifically, Liberty Mutual is also guilty of the following unfair insurance practices:

               a.      Engaging in false, misleading, and deceptive acts or practices in the
                       business of insurance in this case;

               b.      Engaging in unfair claims settlement practices;

               c.      Misrepresenting to Plaintiff pertinent facts or policy provisions relating to
                       the coverage at issue;

               d.      Not attempting in good faith to effectuate a prompt, fair, and equitable
                       settlement of Pla,intiffs' claims as to which Liberty Mutual's liability had
                       become reasonably clear;

               e.      Failing to affirm or deny coverage of Plaintiff's claims within a reasonable
                       time and failing within a reasonable time to submit a reservation of rights
                       letter to Plaintiff;

               f.      Refusing to pay Plaintiff's claims without conducting a reasonable
                       investigation with respect to the claims; and/or

               g.      Failing to provide promptly to a policyholder a reasonable explanation of
                       the basis in the insurance policy, in relation to the facts or applicable law,
                      . for the denial of a claim or for the offer of a compromise settlement.

       57.     Liberty Mutual has also breached the Texas Insurance Code when it breached its

duty of good faith and fair dealing. Liberty Mutual's conduct as described herein has resulted in

Plaintiff's damages that are described in this Original Petition.


PLAINTIFF BLACKSTONE DEVELOPERS, LLC'S ORIGIN AL PETITION                                   Page 13
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15                     Page 22 of 30 PageID 30




                                                 H.
                                    MISREPRESENTATION

        58.     Plaintiff hereby incorporates by reference all facts and circumstances in the

foregoing paragraphs.

        59.     Liberty Mutual is liable to Plaintiff under the theories of intentional

misrepresentation, or in the alternative, negligent misrepresentation. Essentially, Liberty Mutual

did not inform Plaintiff of certain exclusions in the policy. Misrepresentations were made with

the intention that they should be relied upon and acted upon by Plaintiff who relied on the

misrepresentations to its detriment. As a result, Plaintiff has suffered damages, including but not

limited to loss of the Property, loss of use of the Property, mental anguish and attorney's fees.

Liberty Mutual is liable for these actual consequential and penalty-based damages.

                                     I.
              COMMON-LAW FRAUD BY NEGLIGENT MISREPRESENTATION

        60.     Plaintiff hereby incorporates by reference all facts and circumstances        ill   the

foregoing paragraphs.

        61.     Plaintiff would show that Liberty Mutual perpetrated fraud by misrepresentation

(either intentionally or negligently) by falsely representing a fact 9f materiality to Plaintiff, who

relied upon such representations that ultimately resulted in its injuries and damages.

Alternatively, Liberty Mutual fraudulently concealed material facts from Plaintiff, the result of

which caused damage to Plaintiff as a result of the storm-related damages.

        62.     Specifically, and as a proximate cause and result of this fraudulent concealment,

fraud and negligent misrepresentation, all of which was perpetrated without the knowledge or

consent of Plaintiff, Plaintiff has sustained damages far in excess of the minimum jurisdictional

limits of this Court.

PLAINTIFF BLACKSTONE DEVELOPERS, LLC'S ORIGINAL PETITION                                    Page 14
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15                     Page 23 of 30 PageID 31




         63.     By reason of Plaintiff's reliance on Liberty Mutual fraudulent representations,

negligent misrepresentations and/or fraudulent concealment of material facts as described in this

complaint, Plaintiff has suffered actual damages for which he now sues.

         64.    Plaintiff further alleges that because Liberty Mutual knew that the

misrepresentations made to Plaintiff were false at the time they were made, such

misrepresentations are fraudulent, negligent or grossly negligent on the part of Liberty Mutual,

and constitute conduct for which the law allows the imposition of exemplary damages.

         65.     In this regard, Plaintiff will show that it has incurred significant litigation

expenses, i~cluding attorneys' fees, in the investigation and prosecution of this action.

         66.    Accordingly, Plaintiff requests that penalty damages be awarded against Liberty

Mutual in a sum in excess of the minimum jurisdictional limits of this Court.

                                   WAIVER AND ESTOPPEl!

         67.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs.

         68.     Liberty Mutual has waived and is estopped from asserting any defenses,

conditions, exclusions, or exceptions to coverage not contained in any Reservation of Rights or

denial letters to Plaintiff.

                                           DAMAGES.

         69.     Liberty Mutual's acts have been the producing and/or proximate cause of damage

to Plaintiff, and Plaintiff seeks an amount in excess of the minimum jurisdictional limits of this

Court.




PLAINTIFF BLACKSTONE DEVELOPERS, LLC'S ORIGINALPETfTION                                     Page 15
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15                      Page 24 of 30 PageID 32




                              ADDITIONAL DAMAGES & PENALTIES

        70.    Liberty Mutual's conduct was committed knowingly and intentionally.

Accordingly, Liberty Mutual is liable for additional damages under the DTPA, section 17.50(b)

(1), as well as all operative provisions of the Texas Insurance Code. Plaintiff is, thus, clearly

entitled to the 18% damages allowed by the Texas Insurance Code.

                                        ATTORNEY FEES

        71.    In addition, Plaintiff is entitled to all reasonable and necessary attorneys' fees

pursuant to the Texas Insurance Code, DTPA, and sections 38.001-.005 of the Civil Practice and

Remedies Code.

                                         .JURY DEMAND

        72.    Plaintiff demands a jury trial and tenders the appropriate fee with this Original

Petition.

                                REOUEST FOR DISCI,OSlIRE

        73.    Pursuant to the Texas Rules of Civil Procedure, Plaintiff requests that Liberty

Mutual disclose all information and/or material as required by Rule 194.2, paragraphs (a)

through 0), and to do so within 50 days of this request.

                                REOUEST FOR PRODUCTIQN

        75.    Pursuant to the Texas Rules of Civil Procedure, Plaintiff propounds the following

Requests for Production.

        1.    Please produce Liberty Mutual's complete claim files from the home, regional,
      local offices, and third party adjusters/adjusting firms regarding the claim that is the subject
      of this matter, including copies of the file jackets, "field" files and notes, and drafts of
      documents contained in the file for the premises relating to or arising out of Plaintiff's
      underlying claim.



PLAINTIFF BLACKSTONE DEVELOPERS, LLC'S ORIGINAL PETITION                                    Page 16
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15                    Page 25 of 30 PageID 33




        2.    Please produce the underwriting files referring or relating in any way to the policy
      at issue in this action, including the file folders in which the underwriting documents are
      kept and drafts of all documents in the file.

        3.   Please produce certified copy of the insurance policy pertaining to the claim
      involved in this suit.

        4.    Please produce the electronic diary, including the electronic and paper notes made
      by Liberty Mutual's claims personnel, contractors, and third party adjusters/adjusting firms
      relating to the Plaintiff's claims.
        5.    Please produce all emails and other forms of communication by and between all
      parties in this matter relating to the underlying event, claim or the Property, which is the
      subject of this suit.

       6.     Please produce the adjusting reports, estimates and appraisals prepared concerning
      Plaintiffs' underlying claim.

       7.    Please produce the field notes, measurements and file maintained by the adjuster(s)
      and engineers who physically inspected the subject Property.

        8.    Please produce the emails, instant messages and internal correspondence pertaining
      to Plaintiff's underlying claim(s).

        9.   Please produce the videotapes, photographs and recordings of Plaintiff or Plaintiff's
      home, regardless of whether Liberty Mutual intend to offer these items into evidence at
      trial.

                                     INTERROGATORIES

        76.     Pursuant to the Texas Rules of Civil Procedure, Plaintiff propounds the following

Interrogatories.

         1.    Please identify any person Liberty Mutual expect to call to testify at the time of
      trial.

        2.   Please identify the persons involved in the investigation and handling of Plaintiff's
      claim for insurance benefits arising from damage relating to the underlying event, claim or
      the Property, which is the subject of this suit, and include a brief description of the
      involvement of each person identified, their employer, and the date(s) of such involvement.

        3.    If Liberty Mutual or Liberty Mutual's representatives performed any investigative
      steps in addition to what is reflected in the claims file, please generally describe those
      investigative steps conducted by Liberty Mutual or any of Liberty Mutual's representatives

PLAINTIFF BLACKSTONE DEVELOPERS, LLC'S ORIGINAL PETITION                                 Page 17
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15                   Page 26 of 30 PageID 34




    with respect to the facts surrounding the circumstances of the subject loss. Identify the
    persons involved in each step.

     4.    Please identify by date, author, and result the estimates, appraisals, engineering,
    mold and other reports generated as a result of Liberty Mutual's investigation.

      5.    Please state the following concerning notice of claim and timing of payment:

              a.     The date and manner in which Liberty Mutual received notice of
                     the claim;
              b.     The date and manner in which Liberty Mutual acknowledged
                     receipt of the claim;
              c.     The date and manner in which Liberty Mutual commenced
                      investigation of the claim;
              d.     The date and manner in which Liberty Mutual requested from the
              claimant all items, statements, and forms that Liberty Mutual reasonably
              believed, at the time, would be required from the claimant; and
              e.     The date and manner in which Liberty Mutual notified the claimant in
              writing of the acceptance or rejection of the claim.


      6.    Please identify by date, amount and reason, the insurance proceed payments made
     by Defendant, or on Defendant'~ behalf, to the Plaintiff.

       7.   Has Plaintiff's claim for insurance benefits been rejected or denied? If so, state the
     reasons for rejecting/denying the claim.

      8.    When was the date Liberty Mutual anticipated litigation?

       9.    Have any documents (including those maintained electronically) relating to the
     investigation or handling of Plaintiff's claim for insurance benefits been destroyed or
     disposed of? If so, please identify what, when and why the document was destroyed, and
     describe Liberty Mutual's document retention policy.

       10. Does Liberty Mutual contend that the insured premises was damaged by storm-
     related events and/or any excluded peril? If so, state the general factual basis for this
     contention.

      11. Does Liberty Mutual contend that any act or omission by the Plaintiff voided,
    nullified, waived or breached the insurance policy in any way? If so, state the general
    factual basis for this contention.




PLAINTIFF BLACKSTONE DEVELOPERS, LLC'S ORIGINAL PETITION                                 Page 18
    Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15                     Page 27 of 30 PageID 35




            12. Does Liberty Mutual contend that the Plaintiff failed to satisfy any condition
          precedent or covenant of the policy in any way? If so, state the general factual basis for
          this contention.

            13. How is the performance of the adjuster(s) involved in handling Plaintiff's 'claim
          evaluated? State the following:

I                  a.      what performance measures are used; and
                   b.      describe Liberty Mutual's bonus or incentive plan for adjusters.

                                                 CONCLUSION

           77.     Plaintiff prays that judgment be entered against Liberty Mutual Insurance, and

    that Plaintiff be awarded all of its actual damages, consequential damages, prejudgment interest,

    additional statutory damages, post judgment interest, reasonable and necessary attorney fees,

    court costs and for all such other relief, general or specific, in law or in equity, whether pled or

    un-pled within this
                   ,
                        Original Petition.

                                                   PRAYER

           WHEREFORE, PREMISES CONSIDERED, Plaintiff prays it be awarded all such relief

    to which it is due as a result of the acts of Liberty Mutual Insurance, and for all such other relief

    to which Plaintiff may be justly entitled.




    PLAINTIFF BLACKSTONE DEVELOPERS, LLC'S ORIGINAL PETITION                                   Page 19
Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15              Page 28 of 30 PageID 36




                                      Respectfully submitted,

                                      THE Voss LAw FIRM, P.C.


                                      lsI Scott G. Hunziker

                                      Scott G. Hunziker
                                      State Bar No. 24032446
                                      The Voss Law Center
                                      26619 Interstate 45 South
                                      The Woodlands, Texas 77380
                                      Telephone: (713) 861-0015
                                      Facsimile: (713) 861-0021
                                      scott@vosslawfinn.com
                                      ATTORNEYS FOR PLAINTIFF




PLAINTIFF BLACKSTONE DEVELOPERS, LLC'S ORIGINAL PETITION                      Page 20
'.             Case 3:15-cv-01072-N Document 1-3 Filed 04/08/15                                                                                Page 29 of 30 PageID 37
                                                                        CIVIL CASE INFORMATION SHEET
             CAUSE NUMBER       (FOR CLERK USE                                                                                            (FORCLERKUSEONL~:               __________________

                       STYLED: BLACKSTONE DEVELOPERS, LLC V. LIBERTY MUTUAL INSURANCE
                                        (e.g., John Smith v. All American Insurance Co; In re Mary Ann Jones; In the Matter of the Estate of George Jackson)
     A civil case information sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
     health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. The information should be the best available at
     the time of filing.



                                             Email:                                               Plaintiff(s)/Petitioner(s):

     ~""""'"--,,,-,!~~lo<L-_ _ _ scott@vosslawfirm.com                                            BLACKSTONE
                                             Telephone:
                                                                                                  DEVELOPERS, LLC
                                                                                                                                                               dditional Parties in Child Support Case:
                                                                                                  Defendant( s)lResponden t( s):
                                             (713) 861-0015                                                                                                  ICustodial Parent:
                                                                                                  LffiERTY MUTUAL
                                             Fax:
                                                                                                  INSURANCE
                                             1.(.L7.Al~3!,)j...J.8~6Lld..-::.:01L0!.la2ul'--____ [Att.ch additional pase as necessary to list ,II partiesl
                                             State Bar No:
     Signature:


       ~'H,\~                                24032446




       ebtiContract                                                                    Eminent Domain!
        ConsumerlDTPA                                                                     Condemnation
        Debt/Contract                                                                  Partition
        FraudlMisrepresentation                                                        Quiet Title
        Other Debt/Contract:                                                           Trespass to Try Title                                                             EnforcementIModification
        XXX Breach of Contract                                                         Other Property:                                                                   Paternity
                                                                                                                                                                         Reciprocals (UIFSA)
                                          Other Professional                                                                                                             Support Order
                                            Liability:

                                          olor Vehicle Accident                        Expunction                                   Enforce Foreign                        Adoption!Adoptionwi
                                         remises                                       Judgment Nisi                                   Judgment                          :¢'1:x'Tem1iit~iiOil"
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     Partnership                          AsbestOS/Silica                              SeizurelForfeiture                           Name Change                            ChildSupport> :;'; ":.             "T:
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                                                                                  Tortious Interference
                                                                                  Other:

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                                                                                                                            Guardianship-Adult
                                                                                                                            Guardianship-Minor
                                                                                                                            Mental Health
                                                                                                                            Other: ______________



                                                                     Declaratory Judgment
                                                                     Garnishment
                                                                     Interpleader                                                                eceiver
                                                                     License                                                                    Sequestration
      Certiorari                                                     Mandamus                                                                    emporary Restraining Order/Injunction
      Class Action                                                   Post-'ud ment
     4. Indicate damages sought (do not select if it is a family law case);
     Less than $100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees
     Less than $100,000 and non-monetary relief
     S100, 000 but not more than $200,000
     XXX$200,000 but not more than $1,000,000
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            Case 3:15-cv-01072-N   Document 1-3 Filed 04/08/15   Page 30 of 30 PageID 38
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                            LIBERTY MUTUAL INSURANCE
                            91080, CM#70140510000235890937
                            REG AGENT, CT CORPORATION SYSTEM         I
                            211 E. 7TH STREET, STE 620              j:
                            AUSTIN, TX 78701
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